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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §     Case No. 1:21-cv-00796-RP
                                                   §
 THE STATE OF TEXAS,                               §
                                                   §
         Defendant.                                §

                           DEFENDANT’S UNOPPOSED MOTION
                           FOR LEAVE TO EXCEED PAGE LIMITS

        Defendant the State of Texas respectfully requests an extension of the page limit set by Local

Rule CV-7(c)(3) for a filing a dispositive motion. Texas seeks permission to file a motion to dismiss

that does not exceed thirty pages. In support of this motion, Texas states the following:

        1.      On September 15, 2021, the Court granted leave for the United States to file its

emergency motion for a temporary restraining order or preliminary injunction on September 15, 2021.

ECF 7. The 35-page motion is accompanied by 15 supporting declarations. ECF 8.

        2.      The parties have engaged in expedited discovery during the last week, including

document production and 5 witness depositions.

        3.      As the Court has recognized, “this case presents complex, important questions of law

that merit a full opportunity for the parties to present their positions to the Court.” ECF 19.

        4.      Defendant files this motion in the interest of justice. Due to the nature and complexity

of this case and the volume of information produced, additional pages are necessary to fully brief the

issues raised in Plaintiff’s motion, and presented by its complaint.

        5.      The undersigned conferred with Plaintiff’s counsel by email, who represented that

Plaintiff did not oppose a page extension that doesn’t exceed thirty pages.
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       Based on the foregoing, Texas respectfully requests that its unopposed motion for leave to file

a response in excess of the page limits be granted.

Date: September 29, 2021                       Respectfully submitted.

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                                               COUNSEL FOR DEFENDANT




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                               CERTIFICATE OF CONFERENCE

        I certify that, on September 28, 2021, I conferred with Plaintiff’s counsel, who represented

that Plaintiff did not oppose the relief sought.

                                                   /s/ William T. Thompson
                                                   WILLIAM T. THOMPSON

                                  CERTIFICATE OF SERVICE

        I certify that on September 29, 2021, a true and accurate copy of the foregoing document was

filed electronically (via CM/ECF) and served on all counsel of record.

                                                   /s/ William T. Thompson
                                                   WILLIAM T. THOMPSON




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